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                                  DENIED BY ORDER OF THE COURT
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 8                        UNITED STATES DISTRICT COURT
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                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11                                WESTERN DIVISION
12   LOUIS LOE,                                   Case No. 2:21-cv-03348-RGK-MAR
13          Plaintiff,                            [PROPOSED] ORDER GRANTING
14
                                                  STIPULATION TO CONTINUE
                   v.                             THE MOTION TO DISMISS
15
                                                  HEARING DATE TO NOVEMBER
      UNITED STATES OF AMERICA,                   1, 2021
16    ET AL.,
17          Defendants.
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23         Pursuant to the stipulation between plaintiff Louis Loe and defendants
24   United States of America and Tracy L. Wilkison, Kristi Koons Johnson in their
25   official capacity only (collectively, “Defendant USA”), Defendant Kristi Koons
26   Johnson in her individual capacity, and good cause appearing therefor, IT IS
27   HEREBY ORDERED that October 18, 2021 hearing date for the motions to
28   dismiss (ECF Nos. 56 & 57) is continued to November 1, 2021.
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     Case 2:21-cv-03348-RGK-MAR Document 62 Filed 09/17/21 Page 2 of 2 Page ID #:516




 1      The Stipulation is DENIED.
        IT IS SO ORDERED.
 2
      Dated: September 17, 2021
                                           Dated:                       _
 3
                                           THE HONORABLE R. GARY
 4                                         KLAUSNER
 5                                         UNITED STATES DISTRICT JUDGE
     Presented By:
 6   BRIAN M. BOYNTON
 7   Acting Assistant Attorney General, Civil Division
 8
     C. SALVATORE D’ALESSIO, JR.
 9   Acting Director, Torts Branch, Civil Division
10
     RICHARD MONTAGUE
11   Senior Trial Counsel, Torts Branch, Civil Division
12
     /s/ Joseph A. Gonzalez
13
     JOSEPH A. GONZALEZ
14   Trial Attorney, Torts Branch, Civil Division
15
     Attorneys for Defendant KRISTI KOONS JOHNSON in her individual capacity
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